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                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                                  IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          8       ANTITRUST LITIGATION                     )
                                                                                                                           )   Case No. C-07-5944-SC
                                                                          9                                                )
                                                                                                                           )   ORDER GRANTING IN PART AND
                                                                         10       This Order Relates To:                   )   DENYING IN PART DEFENDANTS'
United States District Court
                               For the Northern District of California




                                                                                                                           )   JOINT MOTION FOR SUMMARY
                                                                         11          DIRECT PURCHASER CLASS ACTION         )   JUDGMENT
                                                                                     CASES                                 )
                                                                         12                                                )
                                                                         13
                                                                         14   I.      INTRODUCTION
                                                                         15           This antitrust case arises from allegations that Defendants
                                                                         16   fixed the prices of cathode ray tubes ("CRTs"), which were common
                                                                         17   components of television sets and computer monitors before the
                                                                         18   advent of flat-panel screens.         On December 12, 2011, Defendants
                                                                         19   filed a joint motion for summary judgment against nine members of a
                                                                         20   purported class of alleged direct purchaser plaintiffs ("Named
                                                                         21   DPPs").1     ECF No. 1013 ("MSJ").      The Named DPPs are retailers who
                                                                         22
                                                                              1
                                                                         23     The nine Named DPPs are: Arch Electronics, Inc.; Crago d/b/a Dash
                                                                              Computers, Inc.; Electronic Design Company; Meijer, Inc. and Meijer
                                                                         24   Distribution, Inc.; Nathan Muchnick, Inc.; Orion Home Systems, LLC;
                                                                              Radio & TV Equipment, Inc.; Royal Data Services, Inc.; and Studio
                                                                         25   Spectrum, Inc. The Named DPPs are only nine of the thirteen
                                                                              members of the entire putative DPP class. As explained in Section
                                                                         26   IV.A infra, the term "direct purchaser" is a misnomer as applied to
                                                                              the Named DPPs, who are actually indirect purchasers. However, the
                                                                         27   Court uses the term "DPP" to stay consistent with past orders and
                                                                              to differentiate the Named DPPs from a putative class called the
                                                                         28   indirect purchaser plaintiffs, as well as from the direct action
                                                                              plaintiffs.
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                                                                          1   purchased televisions and monitors containing CRTs (finished
                                                                          2   products or "FPs"), as opposed to purchasing the allegedly price-
                                                                          3   fixed CRTs directly.        Defendants argue that, because the Named DPPs
                                                                          4   did not purchase CRTs directly, they lack antitrust standing under
                                                                          5   Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977).
                                                                          6           On May 31, 2012, the Special Master2 recommended that the
                                                                          7   Court grant Defendants' motion and enter summary judgment against
                                                                          8   the Named DPPs.       ECF No. 1221 ("R&R").      The Court ordered the
                                                                          9   parties to submit any briefs addressing the R&R simultaneously, and
                                                                         10   permitted a separate plaintiff group consisting of large retailers
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                                                                         11   who declined to join the DPP class action, the direct action
                                                                         12   plaintiffs ("DAPs"), to participate in the briefing.             ECF No. 1240.
                                                                         13   The Court received three briefs.          Defendants move for the Court to
                                                                         14   adopt the R&R.       ECF No. 1274 ("Defs. Brief").       The Named DPPs have
                                                                         15   filed an objection to the R&R under seal ("DPP Brief").3               The DAPs
                                                                         16   also object.      ECF No. 1273 ("DAP Brief").        For the reasons set
                                                                         17   forth herein, the Court GRANTS Defendants' motion for summary
                                                                         18   judgment in part and DENIES it in part.
                                                                         19
                                                                         20   II.     BACKGROUND
                                                                         21           The factual and procedural background of this case is familiar
                                                                         22   to the parties and the Court, so only a brief review is provided
                                                                         23   here.     Defendants are allegedly manufacturers of CRTs and, in some
                                                                         24
                                                                              2
                                                                         25     On June 16, 2008, the Court appointed the Honorable Charles A.
                                                                              Legge, United States District Judge (Retired), as a Special Master
                                                                         26   to assist the Court with this litigation. ECF No. 302.
                                                                              3
                                                                         27     The Court received the Named DPPs' brief in chambers under seal.
                                                                              See ECF Nos. 1271 (motion to seal), 1276 (notice of errata and
                                                                         28   amended motion to seal), 1300 (order granting amended motion to
                                                                              seal).


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                                                                          1   cases, of FPs as well.4        They are alleged to have engaged in a
                                                                          2   conspiracy to fix the prices of CRTs.            The thrust of the DPPs'
                                                                          3   allegations is that the allegedly price-fixed CRTs were
                                                                          4   incorporated into FPs like television sets and computer monitors
                                                                          5   and, hence, inflated the price of the FPs that the DPPs purchased.
                                                                          6   See generally ECF No. 436 ("DPP Compl.").             The DPPs' complaint has
                                                                          7   already survived a motion to dismiss.            CRT, 738 F. Supp. 2d 1011.
                                                                          8   After the Court denied Defendants' motion to dismiss, Defendants,
                                                                          9   pursuant to Federal Rule of Civil Procedure 11, moved to strike the
                                                                         10   DPPs' allegations of a conspiracy to fix the price of FPs.              The
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                                                                         11   Special Master issued a report recommending that the Court grant
                                                                         12   the Rule 11 motion.        ECF No. 947.       Before the Court ruled on the
                                                                         13   Special Master's recommendation, however, the parties stipulated to
                                                                         14   the DPPs' withdrawal of those allegations.            Specifically, the
                                                                         15   stipulation withdrew and struck the DPPs' allegations of "a
                                                                         16   conspiracy encompassing Finished Products . . . provided, however,
                                                                         17   that the issue of the possible impact or effect of the alleged
                                                                         18   fixing of prices of CRTs on the prices of Finished Products shall
                                                                         19   remain in the case."        ECF No. 996 ("Stip.") at 2.
                                                                         20           Following this stipulation, Defendants moved for summary
                                                                         21   judgment on the ground that DPPs who had purchased FPs but not the
                                                                         22   allegedly price-fixed CRTs -- that is, the nine Named DPPs --
                                                                         23   lacked antitrust standing under Illinois Brick.             MSJ at 1.   The
                                                                         24   Special Master, after briefing and a hearing, recommended that the
                                                                         25   Court grant the motion.        R&R at 12-13.      The Special Master first
                                                                         26   4
                                                                                Though the DPPs have sued entire corporate families and often
                                                                         27   refer to them by a single name, a particular corporate entity
                                                                              within a family may be dedicated to selling FPs rather than CRTs.
                                                                         28   See In re Cathode Ray Tube (CRT) Antitrust Litig., 738 F. Supp. 2d
                                                                              1011, 1019-1020 (N.D. Cal. 2010) (Conti, J.).


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                                                                          1   found that the Named DPPs had never purchased a CRT, as opposed to
                                                                          2   an FP containing a CRT.     Id. at 5.     He based this finding on both
                                                                          3   the evidentiary record and the admission of counsel at oral
                                                                          4   argument.    Id. (citing hearing transcript).       The Named DPPs do not
                                                                          5   challenge this finding in their objection.         See DPP Brief at 16.
                                                                          6           Beginning from the premise that the Named DPPs purchased FPs
                                                                          7   only, the Special Master concluded that they lack standing under §
                                                                          8   4 of the Clayton Act.      That statute provides that only a person
                                                                          9   "injured in his business or property by reason of anything
                                                                         10   forbidden in the antitrust laws" has standing to bring an antitrust
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                                                                         11   suit.    15 U.S.C. § 15.   "The Supreme Court has interpreted that
                                                                         12   section narrowly, thereby constraining the class of parties that
                                                                         13   have statutory standing to recover damages through antitrust
                                                                         14   suits."    Delaware Valley Surgical Supply Inc. v. Johnson & Johnson,
                                                                         15   523 F.3d 1116, 1120 (9th Cir. 2008) (citing Illinois Brick, 431
                                                                         16   U.S. 720).    Only "the overcharged direct purchaser, and not others
                                                                         17   in the chain of manufacture or distribution, is the party 'injured
                                                                         18   in his business or property' within the meaning of the section . .
                                                                         19   . ."    Illinois Brick, 431 U.S. at 729.
                                                                         20           The Special Master emphasized the bright-line nature of the
                                                                         21   Illinois Brick rule and described the Supreme Court, the Ninth
                                                                         22   Circuit, and district courts within the Ninth Circuit as having
                                                                         23   rejected the creation of exceptions to this rule.          R&R at 7-8
                                                                         24   (collecting appellate cases), 8-9 (collecting district court
                                                                         25   cases).    The Special Master noted that the Named DPPs relied on
                                                                         26   exceptions to the Illinois Brick rule that the Third Circuit
                                                                         27   articulated in In re Sugar Industry Antitrust Litigation, 579 F.2d
                                                                         28   13 (3rd Cir. 1978) and In re Linerboard Antitrust Litigation, 305



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                                                                          1   F.3d 145 (3rd Cir. 2002).      Id. at 10-11.     The Special Master also
                                                                          2   observed that Judge Illston of this Court relied on the same Third
                                                                          3   Circuit opinions in several rulings in the closely related TFT-LCD
                                                                          4   antitrust litigation, rulings which, the Special Master noted, were
                                                                          5   in tension with his recommendations.         Id. at 10.   The Special
                                                                          6   Master distinguished the facts of the instant case from those
                                                                          7   before Judge Illston.     Id. at 11.       He also concluded that Sugar and
                                                                          8   Linerboard "are not the law of the Ninth Circuit."          Id.
                                                                          9   Accordingly, the Special Master recommended that the Court enter
                                                                         10   summary judgment against the Named DPPs on the ground that, because
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                                                                         11   they did not directly purchase the price-fixed CRTs, they were "at
                                                                         12   best" indirect purchasers who lacked antitrust standing.             Id. at
                                                                         13   12-13.
                                                                         14
                                                                         15   III. LEGAL STANDARD
                                                                         16        The Court reviews the Special Master's factual findings for
                                                                         17   clear error and his legal conclusions de novo.         Fed. R. Civ. P.
                                                                         18   53(f)(3), (f)(4); ECF No. 302 ("Order Appointing Special Master") ¶
                                                                         19   18 (parties stipulated to "clear error" standard for factual
                                                                         20   findings).   Entry of summary judgment is proper "if the movant
                                                                         21   shows that there is no genuine dispute as to any material fact and
                                                                         22   the movant is entitled to judgment as a matter of law."             Fed. R.
                                                                         23   Civ. P. 56(a).    Summary judgment should be granted if the evidence
                                                                         24   would require a directed verdict for the moving party.              Anderson v.
                                                                         25   Liberty Lobby, Inc., 477 U.S. 242, 251 (1986).         "A moving party
                                                                         26   without the ultimate burden of persuasion at trial -- usually, but
                                                                         27   not always, a defendant -- has both the initial burden of
                                                                         28   production and the ultimate burden of persuasion on a motion for



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                                                                          1   summary judgment."     Nissan Fire & Marine Ins. Co., Ltd. v. Fritz
                                                                          2   Companies, Inc., 210 F.3d 1099, 1102 (9th Cir.2000).          "In order to
                                                                          3   carry its burden of production, the moving party must either
                                                                          4   produce evidence negating an essential element of the nonmoving
                                                                          5   party's claim or defense or show that the nonmoving party does not
                                                                          6   have enough evidence of an essential element to carry its ultimate
                                                                          7   burden of persuasion at trial."       Id.    "In order to carry its
                                                                          8   ultimate burden of persuasion on the motion, the moving party must
                                                                          9   persuade the court that there is no genuine issue of material
                                                                         10   fact."     Id.
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                                                                         12   IV.   DISCUSSION
                                                                         13         A.     Illinois Brick and Its Exceptions
                                                                         14         The Named DPPs do not challenge the Special Master's central
                                                                         15   finding that they never purchased a CRT, as opposed to a FP.
                                                                         16   Hence, absent a showing of clear error, the Court adopts this
                                                                         17   finding and bases its de novo review of the Special Master's legal
                                                                         18   conclusions on the factual premise that the Named DPPs purchased
                                                                         19   FPs containing the allegedly price-fixed CRTs but did not directly
                                                                         20   purchase CRTs themselves.      Accordingly, the Named DPPs, though they
                                                                         21   are members of a putative class that has been denominated "direct
                                                                         22   purchaser plaintiffs" throughout this litigation, are in fact
                                                                         23   indirect purchasers for purposes of antitrust standing.
                                                                         24         This brings the Named DPPs squarely within the scope of the
                                                                         25   Illinois Brick rule.     The rule is straightforward: "only direct
                                                                         26   purchasers have standing under § 4 of the Clayton Act to seek
                                                                         27   damages for antitrust violations."        Del. Valley, 523 F.3d at 1120-
                                                                         28   21.   "[I]ndirect purchasers in a chain of distribution are



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                                                                          1   precluded from suing for damages based on unlawful overcharges
                                                                          2   passed on to them by intermediates in the distribution chain who
                                                                          3   purchased directly from the alleged antitrust violator."               Arizona
                                                                          4   v. Shamrock Foods Co., 729 F.2d 1208, 1211-12 (9th Cir. 1984)
                                                                          5   (citing Illinois Brick, 431 U.S. at 746).            In other words, Illinois
                                                                          6   Brick prevents the offensive use of a "pass-through" theory.               431
                                                                          7   U.S. at 729-35.5       Under the general rule, then, only the first
                                                                          8   party in the chain of distribution to purchase a price-fixed
                                                                          9   product has standing to sue.         See, e.g., Shamrock Foods, 729 F.2d
                                                                         10   at 1212 (where plaintiffs who paid only retail price abandoned
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                                                                         11   allegations of wholesale price-fixing but continued to allege
                                                                         12   retail price-fixing, Illinois Brick was no bar because no pass-
                                                                         13   through was alleged).
                                                                         14           "The underlying purposes for the [Illinois Brick] rule are (1)
                                                                         15   to eliminate the complications of apportioning overcharges between
                                                                         16   direct and indirect purchasers . . . ; (2) to eliminate multiple
                                                                         17   recoveries . . . ; and (3) to promote the vigorous enforcement of
                                                                         18   the antitrust laws . . . ."         ATM Fee, 686 F.3d 741, 748 (internal
                                                                         19   quotation marks and citations omitted) (quoting Kansas v. UtiliCorp
                                                                         20   United, Inc., 497 U.S. 199, 208, 212, 214 (1990)).             With respect to
                                                                         21   the first, "apportionment" rationale, Illinois Brick "sought to
                                                                         22   avoid increasing the cost and burden of antitrust actions with
                                                                         23   complicated damage theories necessitating massive evidence to
                                                                         24   determine how the overcharge was apportioned throughout the
                                                                         25   5
                                                                                In Hanover Shoe, the Supreme Court barred the defensive use of a
                                                                         26   pass-through theory, thereby allowing antitrust plaintiffs to
                                                                              recover damages in excess of their actual losses. Hanover Shoe,
                                                                         27   Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 491-94 (1968).
                                                                              Illinois Brick extended the holding of Hanover Shoe to the
                                                                         28   offensive context. E.g., Del. Valley, 523 F.3d at 1120 (citing
                                                                              Illinois Brick, 431 U.S. at 728).


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                                                                          1   distribution chain."     Shamrock Foods, 729 F.2d at 1212 (citing
                                                                          2   Illinois Brick, 431 U.S. at 731-32).        As to the second, "multiple
                                                                          3   recoveries" rationale, the Ninth Circuit has explained that
                                                                          4   "allowing every person along a chain of distribution to claim
                                                                          5   damages arising from a single violation of the antitrust laws would
                                                                          6   create a risk of duplicative recovery against the violator
                                                                          7   unintended by Congress."      Id. (citing Illinois Brick, 431 U.S. at
                                                                          8   730).    This risk is especially severe in light of the availability
                                                                          9   of treble damages.     Cf. Illinois Brick, 431 U.S. at 729-730.     As to
                                                                         10   the third, "enforcement" rationale, Illinois Brick, as well as
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                                                                         11   Ninth Circuit cases following it, have recognized Congress's intent
                                                                         12   to utilize overcharged purchasers as "private attorneys general" to
                                                                         13   deter anticompetitive behavior and enforce the antitrust laws.       See
                                                                         14   id. at 745-46; Royal Printing Co. v. Kimberly–Clark Corp., 621 F.2d
                                                                         15   323, 325-26 (9th Cir. 1980); Shamrock Foods, 729 F.2d at 1212; Del.
                                                                         16   Valley, 523 F.3d at 1124.      The Illinois Brick rule is intended to
                                                                         17   promote enforcement of the antitrust laws by conferring standing on
                                                                         18   the party most likely to bring suit.        See Illinois Brick, 431 U.S.
                                                                         19   at 745-46 (concluding that Congressional intent to empower private
                                                                         20   attorneys general "is better served by holding direct purchasers to
                                                                         21   be injured to the full extent of the overcharge paid by them than
                                                                         22   by attempting to apportion the overcharge among all that may have
                                                                         23   absorbed a part of it"); see also Shamrock Foods, 729 F.2d at 1212
                                                                         24   (citing Illinois Brick, 431 U.S. at 746-47) ("[D]irect purchasers
                                                                         25   absorb at least some and often most of the overcharges and are more
                                                                         26   likely to come forward to collect their damages" than indirect
                                                                         27   purchasers.).
                                                                         28           The so-called "Illinois Brick wall," Kendall v. Visa U.S.A.,



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                                                                          1   Inc., 518 F.3d 1042, 1049 (9th Cir. 2008), looms as an imposing
                                                                          2   barrier for antitrust plaintiffs who, like the Named DPPs here,
                                                                          3   rely on a pass-through theory.       The wall is not impassable,
                                                                          4   however, for although "the Supreme Court has expressed reluctance
                                                                          5   in carving out exceptions to the Illinois Brick rule, limited
                                                                          6   exceptions do exist."     ATM Fee, 686 F.3d at 749.       These exceptions,
                                                                          7   when applicable, permit indirect purchasers to pursue private
                                                                          8   treble-damages claims notwithstanding the usual prohibition of
                                                                          9   Illinois Brick.     Hence, the question of whether the Named DPPs have
                                                                         10   standing does not turn solely on their status as direct or indirect
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                                                                         11   purchasers.    As indirect purchasers, their standing depends on
                                                                         12   whether any of the recognized exceptions apply.
                                                                         13           In ATM Fee, which was decided after the Special Master issued
                                                                         14   his report, the Ninth Circuit outlined the three recognized
                                                                         15   exceptions to Illinois Brick in systematic fashion.          First, the
                                                                         16   panel explained that the Supreme Court has "recognized standing for
                                                                         17   indirect purchasers when a preexisting cost-plus contract with the
                                                                         18   direct purchaser exists."      Id. (citing Illinois Brick, 431 U.S. at
                                                                         19   736; UtiliCorp, 497 U.S. at 217–18).        "Second, indirect purchasers
                                                                         20   may have standing under a 'co-conspirator' exception."              Id. (citing
                                                                         21   2A Phillip E. Areeda et al., Antitrust Law ¶ 346h (3d ed. 2007)).
                                                                         22   Under this exception, "an indirect purchaser may bring suit where
                                                                         23   he establishes a price-fixing conspiracy between the manufacturer
                                                                         24   and the middleman."     Id. (quoting Del. Valley, 523 F.3d at 1123
                                                                         25   n.1).    "However, for the indirect purchaser to merit standing under
                                                                         26   this exception, the conspiracy must fix the price paid by the
                                                                         27   plaintiffs."    Id. (citing Shamrock Foods, 729 F.2d at 1211).
                                                                         28   Finally, under the third exception, "indirect purchasers may sue



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                                                                          1   when customers of the direct purchaser own or control the direct
                                                                          2   purchaser . . . or when a conspiring seller owns or controls the
                                                                          3   direct purchaser . . . ."         Id. (citing Illinois Brick, 431 U.S. at
                                                                          4   736 n.16; Royal Printing, 621 F.2d at 326).               "For example, an
                                                                          5   indirect purchaser may sue if the direct purchaser is a division or
                                                                          6   subsidiary of the price-fixing seller."            Id.6
                                                                          7           Importantly, these exceptions are not based on market-specific
                                                                          8   factors; indeed, courts regularly acknowledge Illinois Brick's
                                                                          9   warning against carving out exceptions for certain kinds of
                                                                         10   markets.      E.g., UtiliCorp, 497 U.S. at 216 (citing Illinois Brick,
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                                                                         11   431 U.S. at 744); Del. Valley, 523 F.3d at 1124 (same).                 Neither do
                                                                         12   they depend on case-specific factors.           See UtiliCorp, 497 U.S. at
                                                                         13   216-17 (observing that Illinois Brick's rationale "will not apply
                                                                         14   with equal force in all cases" and that its economic assumptions
                                                                         15   "might be disproved in a specific case," but affirming its bright-
                                                                         16   line rule regardless).         The exceptions cover situations where
                                                                         17   either Illinois Brick's concern over multiple recovery and
                                                                         18   apportionment does not apply, or its policy of encouraging private
                                                                         19   antitrust suits would be stymied by mechanical application of its
                                                                         20   bright-line rule.        See Shamrock Foods, 729 F.2d at 1214 (holding
                                                                         21   "that the policy considerations identified in Illinois Brick do not
                                                                         22   apply" in co-conspirator cases); Royal Printing, 621 F.2d at 326
                                                                         23   n.7 (establishing ownership and control exception because "blind
                                                                         24
                                                                              6
                                                                         25     Before ATM Fee, the case law hinted at the possible existence of
                                                                              a fourth exception that would apply when "there is no realistic
                                                                         26   possibility that the direct purchaser will sue." 686 F.3d at 749
                                                                              (quoting Freeman v. San Diego Ass'n of Realtors, 322 F.3d 1133,
                                                                         27   1145-46 (9th Cir. 2003)). The ATM Fee panel explained, however,
                                                                              that Freeman did not create a fourth exception. It simply restated
                                                                         28   the ownership and control exception already established by Royal
                                                                              Printing. See id. at 756.


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                                                                          1   application of the Illinois Brick rule would eliminate the threat
                                                                          2   of private enforcement" in such cases).        Thus, in the instant case,
                                                                          3   the Court must attend carefully to the contours of the exceptions
                                                                          4   recognized by the Ninth Circuit, as well as to the policies of
                                                                          5   Illinois Brick justifying those exceptions.
                                                                          6        To begin, the Named DPPs do not allege that they had a
                                                                          7   preexisting cost-plus contract with any of the Defendants, so the
                                                                          8   first Illinois Brick exception clearly does not apply.          See ATM
                                                                          9   Fee, 686 F.3d at 750.     The other two exceptions, the co-conspirator
                                                                         10   exception and the ownership and control exception, bear more
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                                                                         11   extended discussion, and the Court turns now to them.
                                                                         12        B.   The Co-Conspirator Exception
                                                                         13        The co-conspirator exception allows an indirect purchaser to
                                                                         14   sue when the direct purchaser conspires horizontally or vertically
                                                                         15   to fix the price paid by the plaintiffs.        ATM Fee, 686 F.3d at 750
                                                                         16   (citing Shamrock Foods, 729 F.2d at 1211).        Put another way, "the
                                                                         17   co-conspirator exception applies when the conspirators set the
                                                                         18   price paid by the consumer."      Id. at 751 (citing Kendall, 518 F.3d
                                                                         19   1042); see also Shamrock Foods, 729 F.2d at 1211.         Conversely, the
                                                                         20   exception does not apply if the plaintiff's "theory of recovery
                                                                         21   depends on pass-on damages."      Id. at 755.    The rationale for the
                                                                         22   exception is that co-conspirator cases do not implicate two key
                                                                         23   policies underlying the Illinois Brick rule -- the elimination of
                                                                         24   multiple recoveries by successive tiers of plaintiffs, as well as
                                                                         25   of the complicated apportionment of damages among them -- because
                                                                         26   the co-conspirator exception confers standing on only a single tier
                                                                         27   of plaintiffs, those who directly pay the fixed price.          See
                                                                         28   Shamrock Foods, 729 F.2d at 1213-14.       Indeed, as the Ninth Circuit



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                                                                          1   recently explained, "this co-conspirator exception is not really an
                                                                          2   exception at all," but rather a straightforward application of
                                                                          3   Illinois Brick in situations where the direct purchaser is part of
                                                                          4   the price-fixing conspiracy and the plaintiff directly pays the
                                                                          5   price set by the conspiracy.      See ATM Fee, 686 F.3d at 750.
                                                                          6           In this case, the DPPs have alleged a conspiracy to fix the
                                                                          7   price of CRTs, but they have expressly stipulated to the withdrawal
                                                                          8   of their allegations of a conspiracy to fix the price of FPs
                                                                          9   incorporating those CRTs.     Stip. at 2.    Accordingly, the conspiracy
                                                                         10   alleged by the DPPs extends only far enough to fix the price of
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                                                                         11   CRTs.    As the Special Master found, and the Named DPPs do not deny,
                                                                         12   the price of CRTs is not the price the Named DPPs paid.             The Named
                                                                         13   DPPs paid only for FPs.     Accordingly, because the Named DPPs'
                                                                         14   "theory of recovery depends on pass-on damages," the co-conspirator
                                                                         15   exception does not and cannot apply to them.         See ATM Fee, 686 F.3d
                                                                         16   at 755.
                                                                         17           The parties' stipulation eliminates any genuine question of
                                                                         18   material fact with respect to the Named DPPs' purchase of the
                                                                         19   allegedly price-fixed CRTs.      With respect to the co-conspirator
                                                                         20   exception, Defendants have carried their burden of production by
                                                                         21   showing that the Named DPPs cannot produce evidence sufficient to
                                                                         22   establish their status as direct purchasers of CRTs.          Further, for
                                                                         23   the reasons just stated, Defendants have shown that they would be
                                                                         24   entitled to judgment as a matter of law if the Named DPPs relied
                                                                         25   only on the co-conspirator exception.       Accordingly, the Court
                                                                         26   GRANTS Defendants' motion for summary judgment against the Named
                                                                         27   DPPs to the extent that Defendants' motion challenges the Named
                                                                         28   DPPs' right to proceed under the co-conspirator exception.



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                                                                          1        C.      The Ownership and Control Exception
                                                                          2        Though Illinois Brick generally bars federal antitrust suits
                                                                          3   by indirect purchasers, Ninth Circuit precedent "allow[s] indirect
                                                                          4   purchasers to sue 'where a direct purchaser is a division or
                                                                          5   subsidiary of a co-conspirator.'"         ATM Fee, 686 F.3d at 756
                                                                          6   (quoting Royal Printing, 621 F.2d at 326).         "Royal Printing created
                                                                          7   an exception when parental control existed, because applying
                                                                          8   Illinois Brick would eliminate the threat of private enforcement .
                                                                          9   . . and close off every avenue for private enforcement."            Id.
                                                                         10   (internal quotation marks and citations omitted).         As the Royal
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                                                                         11   Printing court explained:
                                                                         12                There is little reason for the price-fixer to
                                                                                           fear a direct purchaser's suit when the direct
                                                                         13                purchaser is a subsidiary or division of a co-
                                                                                           conspirator. Even if the pricing decisions of
                                                                         14                such a subsidiary or division are necessarily
                                                                                           determined by market forces, its litigation
                                                                         15                decisions will usually be subject to parental
                                                                                           control. The co-conspirator parent will forbid
                                                                         16                its subsidiary or division to bring a lawsuit
                                                                                           that would only reveal the parent's own
                                                                         17                participation in the conspiracy.
                                                                         18   621 F.2d at 326 (footnote omitted).
                                                                         19        Defendants argue that the Court must distinguish Royal
                                                                         20   Printing from the instant case on the ground that some of the Royal
                                                                         21   Printing plaintiffs purchased the allegedly price-fixed product --
                                                                         22   paper -- while, in this case, no Named DPP purchased the allegedly
                                                                         23   price-fixed CRTs, as opposed to FPs which incorporated them.              Defs.
                                                                         24   Brief at 20 (citing Royal Printing, 621 F.2d at 326-27).            The Court
                                                                         25   disagrees.    For the reasons set forth below, the Court concludes
                                                                         26   that Royal Printing controls here and that the Named DPPs have
                                                                         27   antitrust standing under it.      Because Royal Printing controls, the
                                                                         28   Court reviews its facts and holding at some length.



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                                                                          1              1.     Royal Printing's Facts and Holding
                                                                          2        In Royal Printing, two plaintiffs, a printer and a grocery
                                                                          3   store, brought a treble-damage antitrust suit against a group
                                                                          4   consisting of the nation's ten largest paper manufacturers.          621
                                                                          5   F.2d at 324.    The manufacturers did not sell their paper directly,
                                                                          6   but rather distributed it through two kinds of wholesalers: (1) the
                                                                          7   manufacturers' own wholesaling divisions or wholly-owned wholesaler
                                                                          8   subsidiaries, and (2) independent, unaffiliated wholesalers.          Id.
                                                                          9   The wholesalers thus were direct purchasers, because they bought
                                                                         10   paper directly from the accused manufacturers.         See id. at 326-27.
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                                                                         11   Each defendant-affiliated wholesaler sold paper manufactured by all
                                                                         12   of the defendants, "not limiting themselves to in-house products."
                                                                         13   Id. at 324.     The court noted that wholesale prices were set by
                                                                         14   market conditions, meaning that the conspiracy alleged among the
                                                                         15   paper manufacturers did not extend to the wholesale level.          See id.
                                                                         16   at 324 n.1.
                                                                         17        Crucially, the printer and grocer never bought paper directly
                                                                         18   from the allegedly conspiring manufacturers.         Id. at 324.    They
                                                                         19   bought paper only from non-conspiring wholesalers.          Thus, they were
                                                                         20   indirect purchasers whose suit Illinois Brick normally would bar.
                                                                         21   See id. at 325; see also ATM Fee, 686 F.3d at 754 (to be a direct
                                                                         22   purchaser, "the price paid by plaintiffs must be the price set [by
                                                                         23   the conspiracy] (not merely 'fixed' in some broad sense)").          The
                                                                         24   printer, however, had purchased some paper from wholesalers owned
                                                                         25   or controlled by two of the defendants.        Royal Printing, 621 F.2d
                                                                         26   at 325.   The paper the printer bought from those wholesalers was
                                                                         27   not manufactured by the wholesalers' respective corporate parents;
                                                                         28   it was manufactured by some other defendant.         See id.



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                                                                          1           The Ninth Circuit held that the printer had standing to sue
                                                                          2   under a theory of joint and several liability, regardless of its
                                                                          3   status as an indirect purchaser and regardless of which defendant
                                                                          4   had manufactured the purchased paper, but only to the extent that
                                                                          5   it purchased paper sold by defendant-owned or -controlled
                                                                          6   wholesalers.       Id. at 327.    The Ninth Circuit reasoned that, because
                                                                          7   all the manufacturers were highly unlikely to authorize their
                                                                          8   controlled wholesalers (i.e., the direct purchasers) to sue and
                                                                          9   thereby risk revealing the conspiracy, the deterrent effect and
                                                                         10   enforceability of the antitrust laws depended on the existence of
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                                                                         11   antitrust standing for indirect purchasers situated like the
                                                                         12   printer.      Id. at 326-27.     The grocer, however, which had purchased
                                                                         13   defendants' paper only through unaffiliated wholesalers, was
                                                                         14   "truly" an indirect purchaser under Illinois Brick and therefore
                                                                         15   barred from suit.        Id.   Illinois Brick also barred the printer to
                                                                         16   the extent it had purchased defendants' paper from anyone other
                                                                         17   than a defendants' subsidiary or division.            Id.
                                                                         18                 2.    Royal Printing Controls Here
                                                                         19           Put simply, the Court sees no meaningful distinction between
                                                                         20   the facts of Royal Printing and the facts of this case.                 In Royal
                                                                         21   Printing, neither plaintiff ever directly bought the price-fixed
                                                                         22   paper directly from the manufacturer.7           Likewise, here, the Named
                                                                         23   7
                                                                                It has been suggested that Royal Printing is distinguishable from
                                                                         24   this case because the Royal Printing plaintiffs purchased price-
                                                                              fixed paper while the Named DPPs never purchased a price-fixed CRT
                                                                         25   from anyone. See Defs' Brief at 20; R&R at 10, 11. The difficulty
                                                                              with this position is that the Royal Printing plaintiffs did not
                                                                         26   purchase price-fixed paper. They paid the wholesale price, which
                                                                              was set by market forces. See Royal Printing, 621 F.2d at 324
                                                                         27   (plaintiffs bought only at wholesale), 326 n.4 ("[T]he wholesalers'
                                                                              pricing decisions are determined by market forces . . . ."). The
                                                                         28   Royal Printing plaintiffs, like the Named DPPs here, were indirect
                                                                              purchasers. Ninth Circuit cases distinguish between, on the one


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                                                                          1   DPPs never bought the price-fixed CRT directly from the alleged
                                                                          2   conspirators (since, to the extent that any named Defendants are
                                                                          3   wholesalers, they are, by stipulation, not alleged to have
                                                                          4   conspired to fix the price of any FPs they may have sold to the
                                                                          5   Named DPPs).   In Royal Printing, the alleged conspiracy did not
                                                                          6   include the wholesalers who sold plaintiffs the paper, as shown by
                                                                          7   the market pricing evident at the wholesale level.          Likewise, in
                                                                          8   this case, the conspiracy alleged among sellers of CRTs does not
                                                                          9   reach the sellers of FPs.     In Royal Printing, the court held that,
                                                                         10   notwithstanding the plaintiffs' status as indirect purchasers,
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                                                                         11   Illinois Brick did not bar their suit insofar as they paid a
                                                                         12   passed-on overcharge to a non-conspiring direct purchaser owned or
                                                                         13   controlled by any alleged conspirator.       That holding applies here
                                                                         14   as well.   The Named DPPs are indirect purchasers, but, under Royal
                                                                         15   Printing, they have standing to sue insofar as they purchased FPs
                                                                         16   incorporating the allegedly price-fixed CRTs from an entity owned
                                                                         17   or controlled by any allegedly conspiring defendant.
                                                                         18        Defendants suggest that Royal Printing is distinguishable
                                                                         19   because in that case "no other entity [was] in a position to sue if
                                                                         20   [the printer's] claims were dismissed on summary judgment."           Defs.
                                                                         21   Brief at 20-21 (citing Royal Printing, 621 F.2d at 327).            Here, as
                                                                         22   Defendants point out, the Named DPPs represent only nine of the
                                                                         23   thirteen members of the putative DPP class, so even if the Court
                                                                         24
                                                                              hand, an overcharge directly set by and paid to the conspiracy and,
                                                                         25   on the other, a price paid farther along in the distribution chain
                                                                              which includes a passed-on overcharge. E.g., ATM Fee, 686 F.3d at
                                                                         26   754 (distinguishing between direct payment of the price set by
                                                                              conspiring defendants and indirect payment of that price via pass-
                                                                         27   through, the latter being "merely 'fixed' in some broad sense").
                                                                              Making antitrust standing depend on whether a plaintiff bought the
                                                                         28   price-fixed product -- that is, whether plaintiff was a direct
                                                                              purchaser -- would wipe out the Royal Printing exception.


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                                                                          1   enters summary judgment against those nine parties, other parties
                                                                          2   stand ready to prosecute this action.       The Special Master also
                                                                          3   relied on this fact, among others, when recommending that
                                                                          4   Defendants' motion be granted.      See R&R at 11-12 (noting that the
                                                                          5   instant motion is not against all DPP class members; that this
                                                                          6   litigation includes a putative class of indirect purchasers relying
                                                                          7   on the antitrust laws of states that have passed so-called
                                                                          8   "Illinois Brick repealer" statutes; and that "the Antitrust
                                                                          9   Division of the Department of Justice has been pursuing criminal
                                                                         10   actions against some of these defendants").
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                                                                         11        The Court recognizes that, in the particular circumstances of
                                                                         12   this case, the enforcement goals of Illinois Brick appear already
                                                                         13   to have been met, which suggests that the policy rationale behind
                                                                         14   Royal Printing does not apply.      Defendants urge the Court to
                                                                         15   decline to apply the Royal Printing exception for that reason.
                                                                         16   Defs. Brief at 20 n.10.     Defendants, however, cite no case where a
                                                                         17   court has refused to apply Royal Printing on those grounds, and
                                                                         18   this Court is not inclined to become the first to do so.            Though
                                                                         19   there is some intuitive appeal to refusing to apply the exception
                                                                         20   in cases where enforcement by other parties is ongoing or likely,
                                                                         21   the better course is to apply the Royal Printing exception to any
                                                                         22   plaintiff who meets the formal criteria.        To do otherwise is to
                                                                         23   engage in the very case-by-case recalibration of Illinois Brick
                                                                         24   that the cases so frequently disapprove.        Having been warned
                                                                         25   against the ad hoc creation or expansion of exceptions, this Court
                                                                         26   sees no reason why ad hoc disregard or narrowing of the established
                                                                         27   exceptions is any more justifiable.       Cf. Utilicorp, 497 U.S. at
                                                                         28   216-217 (recognizing that rationales behind Illinois Brick might



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                                                                          1   not be apply in all cases but standing by Illinois Brick
                                                                          2   regardless).       Moreover, Defendants' interpretation of Royal
                                                                          3   Printing would undermine the "vigorous private enforcement of the
                                                                          4   antitrust laws," a policy objective which both Illinois Brick and
                                                                          5   Royal Printing explicitly seek to vindicate.             Illinois Brick, 431
                                                                          6   U.S. at 745; Royal Printing, 621 F.2d at 326 n.7.             Defendants'
                                                                          7   position, if accepted, would bar private treble-damages actions
                                                                          8   against an antitrust defendant whenever the Department of Justice
                                                                          9   engaged in a criminal prosecution of that same defendant.               Even in
                                                                         10   cases where no criminal charges are filed, Defendants' position
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                                                                         11   would deny antitrust standing to any private plaintiff so long as
                                                                         12   the antitrust defendant could point to some other person who also
                                                                         13   could sue.       That result cannot be squared with the goal of vigorous
                                                                         14   private antitrust enforcement.          The Court therefore applies Royal
                                                                         15   Printing even though, in the circumstances of this case, other
                                                                         16   parties stand ready to enforce the antitrust laws.8
                                                                         17           Defendants' other arguments are similarly unavailing.
                                                                         18   Defendants suggest that the physical differences between the paper
                                                                         19   at issue in Royal Printing and the CRTs at issue here support
                                                                         20   denial of antitrust standing to the Named DPPs.             Defs. Brief at 16-
                                                                         21   17.     Defendants focus on how the paper in Royal Printing was "not
                                                                         22   changed in any way" between manufacture and wholesale, while in
                                                                         23   this case, "the products have been changed" because the CRTs were
                                                                         24   integrated into FPs.        Id.   Supposing that paper and CRTs differ in
                                                                         25   this way, the Court discerns no reason why the difference would
                                                                         26
                                                                              8
                                                                         27     The Court notes that Illinois Brick itself set forth a rule aimed
                                                                              at preventing multiple recoveries even though "[t]he potential of
                                                                         28   possible multiple recoveries [was] not present in [that] case."
                                                                              431 U.S. at 763 n.22 (Brennan, J., dissenting).


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                                                                          1   matter for standing purposes.      Cf. UtiliCorp, 497 U.S. at 216
                                                                          2   (quoting Illinois Brick, 431 U.S. at 744) (declining to apply
                                                                          3   Illinois Brick differently in "particular types of markets").             The
                                                                          4   policies underlying Illinois Brick and its exceptions apply with
                                                                          5   equal force regardless of whether or how a particular good is
                                                                          6   modified as it passes through the chain of distribution.            For
                                                                          7   instance, the risk of multiple liability from indirect purchasers
                                                                          8   does not depend on whether a defendant sells paper or CRTs.
                                                                          9   Nothing suggests that CRT sellers are any more likely than paper
                                                                         10   manufacturers to permit direct purchasers over whom they exert
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                                                                         11   ownership or control to bring a lawsuit that would reveal an
                                                                         12   alleged conspiracy.    See Royal Printing, 621 F.2d at 326.           Further,
                                                                         13   the Ninth Circuit has applied Illinois Brick and its exceptions
                                                                         14   without comment in cases involving fees, which obviously do not
                                                                         15   involve modification of any physical product.         E.g., ATM Fee, 686
                                                                         16   F.3d 741; Freeman, 322 F.3d 1133.         Physical differences between
                                                                         17   paper and CRTs supply no reason to refrain from applying the
                                                                         18   ownership and control exception here.
                                                                         19        Next, Defendants argue that the Court should disregard Royal
                                                                         20   Printing because its "underlying rationale . . . no longer carries
                                                                         21   the same force as it once did."       Defs. Brief at 20-21.         Defendants
                                                                         22   explain that, when the Ninth Circuit decided Royal Printing, its
                                                                         23   precedents denied indirect purchasers any remedy under state
                                                                         24   antitrust laws, whereas now indirect purchasers may seek such
                                                                         25   remedies and, in this case, have done so.        Id. (citing In re Cement
                                                                         26   & Concrete Antitrust Litig., 817 F.2d 1435, 1447 (9th Cir. 1987)
                                                                         27   rev'd sub nom. California v. ARC Am. Corp., 490 U.S. 93 (1989)).
                                                                         28   According to Defendants, indirect purchasers' standing to bring



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                                                                          1   state antitrust actions obviates the need for the Royal Printing
                                                                          2   exception.   Id. at 21; see also id. at 23-24 (acknowledging
                                                                          3   existence of other direct purchasers, as well as ongoing criminal
                                                                          4   prosecution of some Defendants).      Whatever the merits of
                                                                          5   Defendants' argument, it is better addressed to the Ninth Circuit,
                                                                          6   which not only has yet to overrule or narrow Royal Printing, but
                                                                          7   reaffirmed and clarified its holding just months ago in ATM Fee.
                                                                          8   See 686 F.3d at 756-58.     Royal Printing remains the law of this
                                                                          9   circuit and binding on this Court.
                                                                         10        Defendants next criticize the Named DPPs' reliance on two
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                                                                         11   Third Circuit decisions, Sugar and Linerboard.         Defs. Brief at 22.
                                                                         12   Defendants describe ATM Fee as having "expressly rejected the
                                                                         13   approach taken by the Third Circuit."       Id.   It is true that Sugar
                                                                         14   and Linerboard conflict with Ninth Circuit law concerning the co-
                                                                         15   conspirator exception.     See ATM Fee, 686 F.3d at 755 n.7.        However,
                                                                         16   the ATM Fee court specifically noted that Sugar "exemplifies the
                                                                         17   exception allowed when an upstream violator controls or owns the
                                                                         18   direct purchaser" -- that is, the Royal Printing exception.           Id.
                                                                         19   ATM Fee makes clear that, while Sugar and Linerboard do not reflect
                                                                         20   the law of the Ninth Circuit where the co-conspirator exception is
                                                                         21   concerned, Sugar, at least, does exemplify the law of the Ninth
                                                                         22   Circuit where the ownership and control exception is concerned.
                                                                         23        Defendants characterize the Named DPPs' citation of Freeman
                                                                         24   and the two Third Circuit cases as an impermissible attempt to
                                                                         25   fashion a new exception to Illinois Brick.        Defs. Brief at 21-23.
                                                                         26   That characterization is inaccurate.       As discussed earlier, Freeman
                                                                         27   and Sugar are applications, not expansions, of the ownership and
                                                                         28   control exception already set forth in Royal Printing.



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                                                                          1          Defendants also argue that they are immunized from antitrust
                                                                          2   liability for the sole reason that CRTs are a "vital input" into
                                                                          3   FPs.   Defs. Brief at 23.    They emphasize a passage in ATM Fee which
                                                                          4   described Illinois Brick as having "rejected exceptions for markups
                                                                          5   by middlemen or when the price-fixed good is a vital input to a
                                                                          6   larger product."    ATM Fee, 686 F.3d at 753 (citing Illinois Brick,
                                                                          7   431 U.S. at 743-45).    Defendants' argument overshoots the mark.
                                                                          8   This passage in ATM Fee merely states the general prohibition
                                                                          9   against standing based on pass-on damages, and says nothing about
                                                                         10   "rejecting" established exceptions, such as the Royal Printing
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                                                                         11   exception.   Indeed, rather than rejecting the three established
                                                                         12   exceptions, ATM Fee affirmed and applied each of them, making them
                                                                         13   part of the case's holding.      Moreover, Defendants' interpretation
                                                                         14   of ATM Fee's "vital input" remark would create, in effect, an
                                                                         15   exception to the exceptions, one that would apply whenever the
                                                                         16   price-fixed good was a "vital input."       Even assuming that one could
                                                                         17   define what makes some inputs "vital" and others not, this Court
                                                                         18   has already declined to narrow the established Royal Printing
                                                                         19   exception for reasons unique to the particularities of this case or
                                                                         20   to the physical nature of CRTs.
                                                                         21          Lastly, Defendants suggest that standing should be denied to
                                                                         22   the Named DPPs because, as indirect purchasers, their claims would
                                                                         23   involve the complicated apportionment of damages warned against in
                                                                         24   Illinois Brick.    Defs. Brief at 21-22.     The concern is misplaced.
                                                                         25   Royal Printing explicitly addressed the issue of apportioning
                                                                         26   damages and held that, in cases proceeding under the ownership and
                                                                         27   control exception, no apportionment is needed; plaintiffs are
                                                                         28   permitted to sue "for the entire overcharge."         621 F.2d at 327.



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                                                                          1         The Court expresses no view as to whether the Named DPPs will
                                                                          2   be able to prove what is needed to win relief as indirect
                                                                          3   purchasers under the ownership and control exception.          In their
                                                                          4   sealed brief and its supporting declarations, the Named DPPs
                                                                          5   present evidence based on the discovery they have taken so far.
                                                                          6   DPP Brief at 4-5, 13.     This evidence raises a genuine issue of
                                                                          7   material fact as to whether the Named DPPs purchased FPs
                                                                          8   incorporating the allegedly price-fixed CRTs from some defendant-
                                                                          9   owned or -controlled division or subsidiary.         Accordingly,
                                                                         10   Defendants have not carried their summary judgment burden of
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                                                                         11   showing an absence of evidence in support of applying the ownership
                                                                         12   and control exception.     To the extent that Defendants' summary
                                                                         13   judgment motion challenges the Named DPPs' standing on that ground,
                                                                         14   the motion is DENIED.
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                                                                          1   V.      CONCLUSION
                                                                          2           For the foregoing reasons, Defendants' motion for summary
                                                                          3   judgment against Plaintiffs Arch Electronics, Inc.; Crago d/b/a
                                                                          4   Dash Computers, Inc.; Electronic Design Company; Meijer, Inc. and
                                                                          5   Meijer Distribution, Inc.; Nathan Muchnick, Inc.; Orion Home
                                                                          6   Systems, LLC; Radio & TV Equipment, Inc.; Royal Data Services,
                                                                          7   Inc.; and Studio Spectrum, Inc., is GRANTED IN PART and DENIED IN
                                                                          8   PART.    Because these Plaintiffs did not purchase allegedly price-
                                                                          9   fixed CRTs directly, they are indirect purchasers and Illinois
                                                                         10   Brick bars their suit unless one of the three recognized exceptions
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                                                                         11   applies.    The Court concludes that the ownership-and-control
                                                                         12   exception of Royal Printing does apply.        Therefore, the Named DPPs
                                                                         13   have standing to sue for alleged overcharges passed on to them when
                                                                         14   they purchased an FP containing an allegedly price-fixed CRT from
                                                                         15   an entity allegedly owned or controlled by any allegedly conspiring
                                                                         16   Defendant.       The Named DPPs do not have standing, however, to sue
                                                                         17   for alleged overcharges passed on to them from any other seller of
                                                                         18   FPs.
                                                                         19
                                                                         20           IT IS SO ORDERED.
                                                                         21
                                                                         22           Dated:    November 29, 2012
                                                                                                                    UNITED STATES DISTRICT JUDGE
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